 Case 2:19-cv-00291-NT Document 76 Filed 11/01/23 Page 1 of 6            PageID #: 646




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

HSBC Bank USA, National                      CIVIL ACTION NO: 2:19-cv-00291-NT
Association, as Trustee, in trust for
the registered holders of ACE
Securities Corp. Home Equity Loan
Trust, Series 2006-NC3, Asset
Backed Pass-Through Certificates

               Plaintiff                     CONSENT JUDGMENT OF
                                             FORECLOSURE AND SALE

                     vs.                     RE:
                                             93 Spicebush Drive, Wells, ME 04090

Benjamin P. Campo, Jr., Esq., as             Mortgage:
Special Administrator of the Estate          September 26, 2006
of Donna M. Lombardo                         Book 14965, Page 0615

         Defendant
LVNV Funding, LLC

               Party-In-Interest

      Now comes the Plaintiff, HSBC Bank USA, National Association, as Trustee,

in trust for the registered holders of ACE Securities Corp. Home Equity Loan Trust,

Series 2006-NC3, Asset Backed Pass-Through Certificates, and the Defendant,

Benjamin P. Campo, Jr., Esq., as Special Administrator of the Estate of Donna M.

Lombardo and hereby submit this Consent Judgment of Foreclosure and Sale.

      JUDGMENT on Count I – Foreclosure and Sale is hereby ENTERED as

follows:

           If the Defendant or their heirs or assigns pay HSBC Bank USA, National

           Association, as Trustee, in trust for the registered holders of ACE Securities

           Corp. Home Equity Loan Trust, Series 2006-NC3, Asset Backed Pass-
Case 2:19-cv-00291-NT Document 76 Filed 11/01/23 Page 2 of 6        PageID #: 647




       Through Certificates (“HSBC Bank”) the amount adjudged due and owing

       ($600,942.42) within 90 days of the date of the Judgment, as that time

       period is calculated in accordance with 14 M.R.S.A § 6322, HSBC Bank

       shall forthwith discharge the Mortgage and file a dismissal of this action on

       the ECF Docket. The following is a breakdown of the amount due and owing:

     Description                         Amount
     Principal Balance                   $264,659.95
     Interest                            $272,175.00
     Escrow Advance Balance              $61,644.81
     Unapplied Funds                     $-1,290.54
     Advance Balance                     $3,661.02
     Late Fees                           $92.18
     Grand Total                         $600,942.42

    1. If the Defendant or their heirs or assigns do not pay HSBC Bank the

       amount adjudged due and owing ($600,942.42) within 90 days of the

       judgment, as that time period is calculated in accordance with 14 M.R.S.A.

       § 6322, their remaining rights to possession of the Wells Property shall

       terminate, and HSBC Bank shall conduct a public sale of the Wells

       Property in accordance with 14 M.R.S.A. § 6323, disbursing the proceeds

       first to itself in the amount of $600,942.42 after deducting the expenses of

       the sale, with any surplus to be disbursed pursuant to Paragraph 5 of this

       Judgment, and in accordance with 14 M.R.S.A. § 6324. HSBC Bank may

       not seek a deficiency judgment against the pursuant to the Plaintiff's

       waiver of deficiency.

    2. Pursuant to 14 M.R.S.A. § 2401(3)(F), the Clerk, if requested, shall sign a

       certification after the appeal period has expired, certifying that the
Case 2:19-cv-00291-NT Document 76 Filed 11/01/23 Page 3 of 6         PageID #: 648




       applicable period has expired without action or that the final judgment has

       been entered following appeal.

    3. The amount due and owing is $600,942.42 and the mortgage loan is in

       default, as a result of the Borrowers, Donna Lombardo and Jeffrey A.

       Dowell, having failed to comply with the terms of the Note, the object of this

       litigation, are in breach of both the Note and Mortgage. Benjamin P. Campo,

       Jr., Esq., as Special Administrator of the Estate of Donna M. Lombardo is

       not personally liable, and accordingly this action does not seek personal

       liability on the part of that Defendant, and this judgment shall act solely as

       an in rem judgment against the property.

    4. The priority of interests is as follows:

          ● HSBC Bank USA, National Association, as Trustee, in trust for the

          registered holders of ACE Securities Corp. Home Equity Loan Trust,

          Series 2006-NC3, Asset Backed Pass-Through Certificates has first

          priority, in the amount of $600,942.42, pursuant to the subject Note and

          Mortgage.

          ● LVNV Funding, LLC who has been defaulted. has the second priority

          behind the Plaintiff pursuant to a Writ of Execution dated June 24, 2010,

          in the amount of $1,514.17, and recorded in the York County Registry of

          Deeds in Book 15906, Page 866.

          ● Benjamin P. Campo, Jr., Esq., as Special Administrator of the Estate

          of Donna M. Lombardo have the third priority behind the Plaintiff.
Case 2:19-cv-00291-NT Document 76 Filed 11/01/23 Page 4 of 6       PageID #: 649




    5. The prejudgment interest rate is 7.27500%, see 14 M.R.S.A. § 1602-B, and

       the post-judgment interest rate is 10.69%, pursuant to 14 M.R.S.A. § 1602-

       C (the one year United States Treasury bill rate is the weekly average one-

       year constant maturity Treasury yield, as published by the Board of

       Governors of the Federal Reserve System, for the last full week of the

       calendar year immediately prior to the year in which post-judgment

       interest begins to accrue – December 2022, 4.69% plus 6% for a total post-

       judgment interest rate of 10.69%).

    6. The following information is included in this Judgment pursuant to 14

       M.R.S.A. § 2401(3):


                      PARTIES                      COUNSEL
PLAINTIFF             HSBC Bank USA, National Reneau J. Longoria, Esq.
                      Association, as Trustee, in Doonan, Graves & Longoria,
                      trust for the registered    LLC
                      holders of ACE Securities 100 Cummings Center
                      Corp. Home Equity Loan      Suite 303C
                      Trust, Series 2006-NC3,     Beverly, MA 01915
                      Asset Backed Pass-
                      Through Certificates
                      7105 Corporate Drive
                      Plano, TX 75024
DEFENDANT
                      Benjamin P. Campo, Jr.,     Pro Se
                      Esq., as Special
                      Administrator of the Estate
                      of Donna M. Lombardo


PARTIES-IN-
INTEREST
Case 2:19-cv-00291-NT Document 76 Filed 11/01/23 Page 5 of 6         PageID #: 650




                       LVNV Funding LLC            Pro Se
                       c/o Corporation Service
                       Company
                       45 Memorial Circle
                       Augusta, ME 04330


       a) The docket number of this case is No. 2:19-cv-00291-NT.

       b) All parties to these proceedings received notice of the proceedings in

          accordance with the applicable provisions of the Federal Rules of Civil

          Procedure.

       c) A description of the real estate involved, 93 Spicebush Drive, Wells, ME

          04090, is set forth in Exhibit A to the Judgment herein.

       d) The street address of the real estate involved is 93 Spicebush Drive,

          Wells, ME 04090.     The Mortgage was executed by the Defendants,

          Jeffrey A. Dowell and Donna Lombardo on September 26, 2006. The

          book and page number of the Mortgage in the York County Registry of

          Deeds is Book 14965, Page 0615.

       e) The Borrowers, Donna Lombardo and Jeffrey A. Dowell, having failed to

          comply with the terms of the Note, the object of this litigation, are in

          breach of both the Note and Mortgage. Benjamin P. Campo, Jr., Esq., as

          Special Administrator of the Estate of Donna M. Lombardo is not

          personally liable, and accordingly this action does not seek personal

          liability on the part of that/those Defendant(s), and this judgment shall

          act solely as an in rem judgment against the property.

       f) This judgment shall not create any personal liability on the part of the
Case 2:19-cv-00291-NT Document 76 Filed 11/01/23 Page 6 of 6     PageID #: 651




            Defendant but shall act solely as an in rem judgment against the

            property, 93 Spicebush Drive, Wells, ME 04090.



Dated: October 30, 2023                 /s/Reneau J. Longoria, Esq.___
                                        Reneau J. Longoria, Esq. Bar No.
                                        005746
                                        Attorney for Plaintiff
                                        Doonan, Graves & Longoria, LLC
                                        100 Cummings Center, Suite 303C
                                        Beverly, MA 01915
                                        (978) 921-2670
                                        RJL@dgandl.com


Dated: October 17, 2023                 /s/Benjamin P. Campo, Esq.__
                                        Benjamin P. Campo, Esq.
                                        490 Walnut Hill Road
                                        North Yarmouth, ME 04097




SO ORDERED.

                                           /s/ Nancy Torresen
                                           U.S. District Court



Dated this 1st day of November, 2023.
